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  SO ORDERED.

  SIGNED this 31 day of August, 2005.


                                                      ________________________________________
                                                                   LARRY E. KELLY
                                                      UNITED STATES CHIEF BANKRUPTCY JUDGE
  ____________________________________________________________


                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

  IN RE:                                          §
  ANQUENETTA DUNNER-HOBBS,                        §           CASE NO. 05-62020-LEK
           DEBTOR.                                §           CHAPTER 13
                                                  §

       ORDER DISMISSING DEBTOR’S CASE WITH PREJUDICE FOR 180 DAYS
   FROM THE DATE OF THIS ORDER AND REQUIRING THE DEBTOR TO PAY THE
   FILING FEE REQUIRED FOR THIS CASE BEFORE THIS DEBTOR CAN FILE ANY
                      FURTHER BANKRUPTCY CASES

         Before the Court is the above referenced case. A review of the history of this Debtor
  shows that she has filed three prior bankruptcy cases, all of which have been dismissed for her
  failure to comply with the duties imposed upon a debtor. Debtor filed a chapter 13 case, Case
  No. 03-60274, which was summarily dismissed on July 14, 2004 because the Debtor failed to
  make timely plan payments. Debtor filed a chapter 13 case, Case No. 04-60969, which was
  summarily dismissed on October 18, 2004 because the Debtor failed to make timely plan
  payments. Debtor filed a chapter 13 case, Case No. 04-62548, which was summarily dismissed
  March 28, 2005 because the Debtor failed to make plan payments and failed to comply with an
  agreement reached with a creditor, Mike Milligan, who had sought to dismiss her case. This
  agreement with the creditor was memorialized in a court order entitled “Agreed Order Retaining
  Case on Conditions.” That agreement specifies that, should the Debtor fail to make her plan

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  payments, that bankruptcy case, 04-62548, would be dismissed with prejudice for a period of
  180 days, meaning that Debtor could not file any other bankruptcy case for a period of 180 days
  from the date of that Agreed Order. One hundred eigthy days is approximately 6 months, and
  this prohibited time period would conclude near the end of September 2005.
            However, on August 19, 2005, the Debtor filed a fourth bankruptcy case, again under
  chapter 13 of the Bankruptcy Code. Debtor filed this case within the prohibited 180-day period.
  Additionally, it appears that the Debtor switched two of the numbers of her Social Security
  number to avoid detection of her prior three bankruptcy cases. In any event, the creditor, Mike
  Milligan, has again filed a motion to dismiss this fourth case given the fact that the Debtor has
  no right to file bankruptcy because the 180-day period has not passed.
            Additionally, Debtor asked and was granted the ability to pay in installments the required
  $194.00 filing fee for this fourth chapter 13 case. She paid $40.00 on August 19, 2005, and was
  to pay one other installment of $154.00 on August 22, 2005. To date, that installment of $154.00
  has not been paid. Given the above facts, this order is being entered to dismiss this case and
  impose additional sanctions against the Debtor. It is therefore
            ORDERED that the case is dismissed with prejudice, and Debtor is prohibited from filing
  a bankruptcy case under any chapter of the Bankruptcy Code for 180 days from the date of this
  order (the prohibited period will not conclude until approximately February 26, 2005); it is
  further
            ORDERED that the Clerk of the Court is to refuse the filing of any bankruptcy case or is
  to cancel any electronic filing of a bankruptcy case, including after this 180-day period has
  passed, until such time as this Debtor has paid the remaining filing fee owed for this bankruptcy
  case of $154.00; it is further
            ORDERED that the automatic stay shall not be arise in any bankruptcy case which the
  Debtor may file within this 180-day period from the date of this order; it is further
            ORDERED that the Trustee is discharged and relieved of his trust and of his sureties, and
  that the remaining balances of all debts due and owing creditors are not discharged nor affected
  by this order.
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